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IN THE UNITED STATES DISTRICT COURT FMZ;;.. w nn
FoR THE wEsTERN DISTRICT OF TENNESSEE '_
WESTERN DIVIsIoN g § , cr g o?.

 

UNITED STATES OF AMERICA,

 

P]aintiff,
VS. No. 99-20114
TORRICK LYLES,

Defendant.

 

ORDER GRANTING DEFENDANT’S MOTION TO CONTINUE SENTENCING

 

This cause came on upon the motion of the Defendant to continue the sentencing hearing

set on May 11, 2005 at 1:30 p.m. For good cause shown, the Court hereby grants the

. . . OQ-H\ ----F
Defendant’s motlon. The sentenclng ls hereby reset for the / " day of \-)‘~/~`1~§ ,
2005 at rio aTm-./p.m.

IT ls so 0RDERED this /O ""day Of May, 2005.

 

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UNITED sTATE DSTIIC COURT - WTERN DISTRCT OFTENNESSEE

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Michael EdWin Scholl

THE SCHOLL LAW FIRM
8 S. Third St.

Fourth Floor

Memphis7 TN 38103--238

Stuart J. Canale

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

Memphis7 TN 38103

Honorable Bernice Donald
US DISTRICT COURT

